                                                                                          Case 2:22-cv-00546-RFB-EJY             Document 21       Filed 12/16/24      Page 1 of 2




                                                                                      1   NOEL M. HERNANDEZ
                                                                                          Nevada Bar No. 13893
                                                                                      2   noel.hernandez@ogletreedeakins.com
                                                                                          OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                      3
                                                                                          10801 W. Charleston Blvd.
                                                                                      4   Suite 500
                                                                                          Las Vegas, NV 89135
                                                                                      5   Telephone: 702.369.6800
                                                                                          Fax: 702.369.6888
                                                                                      6
                                                                                          Attorney for Defendant CarMax Auto Superstores, Inc.
                                                                                      7

                                                                                      8                                UNITED STATES DISTRICT COURT

                                                                                      9                                  FOR THE DISTRICT OF NEVADA

                                                                                     10   MICHAEL UDESKY, an Individual                         Case No.: 2:22-cv-00546-RFB-EJY
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                     11                          Plaintiff,
                                                                                                                                               STIPULATION AND ORDER TO LIFT
                                                                                     12   vs.                                                      STAY AND DISMISS CASE
                                                 200 S. Virginia Street, 8th Floor




                                                                                     13                                                                       (First Request)
                                                    Telephone: 775-440-2372




                                                                                          CARMAX AUTO SUPERSTORES, INC., a
                                                                                          Virginia Corporation; DOES I through X,
                                                         Reno, NV 89501




                                                                                     14
                                                                                          inclusive, and ROE CORPORATIONS I
                                                                                     15   through X, inclusive,
                                                                                     16                          Defendants.
                                                                                     17

                                                                                     18          Defendant CarMax Auto Superstores, Inc. (“Defendant”) and Plaintiff Michael Udesky
                                                                                     19   (“Plaintiff”), by and through respective counsel, hereby request that the stay in this matter be lifted
                                                                                     20   so that the parties may dismiss this case.
                                                                                     21   ///
                                                                                     22   ///
                                                                                     23   ///
                                                                                     24   ///
                                                                                     25   ///
                                                                                     26   ///
                                                                                     27   ///
                                                                                     28   ///
                                                                                               Case 2:22-cv-00546-RFB-EJY            Document 21       Filed 12/16/24     Page 2 of 2



                                                                                           1          Specifically, Defendant and Plaintiff hereby stipulate that all claims Plaintiff had or may
                                                                                           2   have had against Defendant, that are contained in, reasonably related to, or could have been brought
                                                                                           3   in the above-captioned action, are hereby dismissed with prejudice, in their entirety. Each party is
                                                                                           4   to bear their own fees and costs.
                                                                                           5   DATED this 13th day of December, 2024.         DATED this 13th day of December, 2024.
                                                                                           6   RYAN ALEXANDER, CHTD.                           OGLETREE, DEAKINS, NASH, SMOAK & STEWART,
                                                                                                                                               P.C.
                                                                                           7

                                                                                           8   /s/ Ryan Alexander/                             /s/ Noel M. Hernandez/
                                                                                               Ryan Alexander                                  Noel M. Hernandez
                                                                                           9   Nevada Bar No. 10845                            Nevada Bar No. 13893
                                                                                               3017 West Charleston Blvd., Ste. 10             OGLETREE, DEAKINS, NASH, SMOAK & STEWART,
                                                                                          10
                                                                                               Las Vegas, NV 89102                             P.C.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11   Attorneys for Plaintiff                         10801 W. Charleston Blvd.
                                                                                                                                               Suite 500
                                                                                          12                                                   Las Vegas, NV 89135
                                                                                                                                               Attorneys for Defendant
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13
                                                         Telephone: 702.369.6800




                                                                                          14
                                                           Las Vegas, NV 89169




                                                                                                                                            ORDER
                                                            Wells Fargo Tower




                                                                                          15
                                                                                                      IT IS SO ORDERED.
                                                                                          16

                                                                                          17                                                RICHARD F. BOULWARE, II
                                                                                                                                            UNITED STATES DISTRICT COURT JUDGE
                                                                                          18
                                                                                                                                             December 16, 2024
                                                                                          19
                                                                                                                                            DATED
                                                                                          20

                                                                                          21

                                                                                          22

                                                                                          23

                                                                                          24

                                                                                          25

                                                                                          26

                                                                                          27

                                                                                          28

                                                                                                                                                2
                                                                                                                                                                               87108078.v1-OGLETREE
